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AO 245B (R ev. 06/05) - Judgment in a Criminal Case




                                             United States District Court
                                                          District of Kansas

            UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                       v.
            CHRISTOPHER L. MUMFORD                                             Case Number:           2:06CR20060-002-JWL
                                                                               USM Numb er:           11365-031

                                                                               Defendant’s Attorney   Michael L. Harris

THE DEFENDANT:
[x]       plead ed guilty to count: 6 of the 9-count Indictment.
[]        pleaded nolo contendere to count(s)        which w as accepted by the court.
[]        was found guilty on count(s)       after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:


          Title & Section                                 Nature of O ffense                             Offense Ended          Count

 18 U.S.C. § 924(c)                       Using A Firearm During And In Relation To Or                      01/08/04               6
                                          Possessing A Firearm In Furtherance Of The
                                          Distribution And Possession With Intent To
                                          Distribute Cocaine Base (Crack), a Class A felony

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)          .

[x]       All other counts in any charging document, under this case number, as such pertain to this defendant are dismissed upon
          motio n of the government.

         IT IS ORDE RED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing add ress until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant shall notify the court and Un ited States attorney of material changes in econ omic circum stances.

                                                                                                      January 29, 2007
                                                                                               Date of Imposition of Judgment


                                                                                  s/ John W. Lungstrum
                                                                                                        Signature of Judge


                                                                                Hono rable John W . Lungstrum, Chief U. S. District Judge
                                                                                                Name & Title of Judge


                                                                                   January 29, 2007
                                                                                                              Date
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AO 245B (Rev. 06/05) Judgment in a Criminal Case---Imprisonment

DEFENDANT:                       CHRISTOPHER L. MUMFORD                                                                Judgm ent - Page 2 of 6
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                                                             IMPRISONMENT
        The defendant is hereb y com mitted to the custody o f the United S tates B ureau of Prisons to be imprisoned for a total term of
90 months.




[x]       The Co urt makes the fo llowing recommendations to the Bureau of Prisons: T he de fendant be p laced in a facility closest to
          Kansa s City, Kansas.




[x]       The defendant is rema nded to the custod y of the U nited S tates M arshal.


[]        The defendant shall surrender to the United States M arshal for this district.

          [ ] at       on    .

          [ ] as notified by the United States M arshal.


[]        The defendant shall surrender for service o f sentence at the institution designated by the B ureau of P risons:

          [ ] before    on       .

          [ ] as notified by the United States M arshal.

          [ ] as notified by the Probation or Pretrial Services Officer.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                    to

at                                          , with a certified copy of this judgment.




                                                                                                          UNITED STATES MARSHAL



                                                                                                  By
                                                                                                                Deputy U.S. Marshal
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AO 245B (R ev. 06/05) Judgment in a Criminal Case ---Supervised Release
DEFENDANT:                      CHRISTOPHER L. MUMFORD                                                                               Judgment - Page 3 of 6
CASE NUMBE R:                   2:06CR20060-002-JW L




                                                         SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check if applicable)

[x]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if applicable)

[x]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

[]        The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where the defendant resides, where the
          defendant is an employee, and where the defendant is a student. For initial registration purposes only, the defendant shall also register in the
          jurisdiction in which convicted, if such jurisdiction is different from the jurisdiction of residence. Registration shall occur not later than 3
          business days after being sentenced, if the defendant is not sentenced to a term of imprisonment. The defendant shall, not later than 3 business
          days after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the defendant
          is registered and inform that jurisdiction of all changes in the information required. (Check if applicable)

[]        The defendant shall participate in an approved program for domestic violence. (Check if applicable)

        If this judgment imposes a fine or restitution, it is to be a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other acceptable reasons;
6)  the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)  the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substances or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)  the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)  the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
    granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
    observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
    the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
    personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
    such notification requirement.
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AO 245B (R ev. 06/05) Judgment in a Criminal Case ---Supervised Release
DEFENDANT:                      CHRISTOPHER L. MUMFORD                                                     Judgment - Page 4 of 6
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                                SPECIAL CONDITIONS OF SUPERVISION


1.    The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or other
      dangerous weapon.

2.    The defendant shall participate in an approved program for substance abuse, which may include drug/alcohol
      testing, counseling and inpatient treatment, and share in the costs, based on the ability to pay. The defendant
      shall abstain from the use of alcohol during supervision.

3.    The defendant shall participate in an approved program for mental health, which may include psychological
      counseling, and share in the costs, based on the ability to pay, at the direction of the U.S. Probation Officer.
      The defendant shall take all medication as prescribed by a physician.
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AO 245B (R ev.06/05) Judgment in a Criminal Case---Criminal Monetary Penalties
DEFENDANT:                       CHRISTOPHER L. MUMFORD                                                                                        Judgment - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES
     The defendant shall pa y the total criminal monetary penalties under the Schedule of P ayments set forth in this Judgment.
                                                  Assessment                       Fine                     Restitution

      To tals:                                               $ 100.00                                 $0                               $0


[]    The determination of restitution is deferred until . An Am ended Jud gment in a C riminal C ase (AO 245C) will be entered after such
      determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial paym ent, each paye e shall receive an approximately proportioned p ayment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.



 Name of Payee                                                         To tal Loss*                Restitution Ordered                 Priority or Percentage




                  Totals:                           $                    $




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant shall pay interest on any fine or restitution o f more than $2,50 0, unless the fine o r restitution is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 12(f). All of the payment options set forth in this Judgment
      may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

[]    The cou rt determined that the defendant do es not have the ability to p ay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                [ ] fine and/or       [ ] restitution.

      [ ] the interest requirement for the              [ ] fine and/or         [ ] restitution is modified as follows:




  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses comm itted on or after September 13, 1994,
but before April 23, 1996.
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AO 245B (R ev.06/05) Judgment in a Criminal Case---Criminal Monetary Penalties
DEFENDANT:                                CHRISTOPHER L. MUMFORD                                                                                                                    Judgment - Page 6 of 6
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                                                                   SCHEDULE OF PAYMENTS
    Having assessed the defend ant’s ability to pay, payment of the total criminal mo netary penalties are du e as follows:

A       []      Lump sum payme nt of $ due immediately, balance due

        []      not later than                , or

        []      in accordance with ( ) C, ( ) D, ( ) E, or ( ) F below; or

B       [x]     Payment to begin immediately (may be combined with ( ) C, ( ) D, or (x) F below); or

C       []      Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a perio d of
                years to commence      days after the date of this judgment; or

D       []      Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly installments
                of not less than 5% of the defenda nt's monthly gross household income over a period o f    years, to commence    days after
                release from imprisonment to a term of supervision; or

E       []      Payment during the term of supervised release will commence within _ (e .g., 30 o r 60 days) after release from impriso nment.
                The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F       [x]     Spe cial instructions reg arding the payment of crim inal mo netary p enalties:


If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Paym ents sho uld be made to Clerk, U.S. District C ourt, U .S. Co urthouse - Ro om 2 59, 5 00 S tate Avenue, Kan sas City, K ansas 6 610 1.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonm ent. All criminal monetary p enalties, except those paym ents ma de thro ugh the Federal B ureau of Prisons’ Inm ate
Financial Re sponsibility Program, are mad e to the clerk o f the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

        []       Joint and Several

        Defendant and Co-Defendant Names and Case Numb ers (including defendant number), Total Amount Joint and Several Amount and
        corresponding payee, if appropriate.
                          Case Number                                                                                                                                          Joint and Several
                      (including Defendant                                                              Defendant Name                                                              Amount
                            Numb er)


        []       The defendant shall pay the cost of prosecution.

        []       The defendant shall pay the following court cost(s):

        []       The defendant shall forfeit the defendant's interest in the following pro perty to the United States:




 Pa ym en ts s ha ll be ap plie d in the follo wi ng ord er: (1) as sess m en t, (2 ) re stitution princ ipa l, (3 ) re stitution intere st, (4) fine princ ipa l, (5) fin e inte rest, (6) comm unity restitution,
(7) penalties, (8) costs, including cost of prosecution and court costs.
